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 5
 6
 7                   IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,      )        CR. NO. S-07-165-LKK
                                    )
12              Plaintiff,          )        STIPULATION AND ORDER AMENDING
                                    )        BRIEFING SCHEDULE ON
13        v.                        )        DEFENDANT DANIEL ROSALES'
                                    )        SEVERANCE MOTION
14   JESUS FERNANDO VEGA, et al.,   )
                                    )        Date: February 10, 2009
15              Defendants.         )        Time: 9:15 a.m.
     _______________________________)        Court: Hon. Lawrence Karlton
16
17
18        Whereas, the plaintiff United States of America desired
19   additional time to respond to defendant Daniel Rosales' severance
20   motion that is set for hearing on February 10, 2009,
21        It is hereby stipulated and agreed between plaintiff United
22   States of America and defendant Rosales, through their respective
23   counsel that the briefing schedule for Rosales' motion shall be
24   amended as follows:
25        1.   The United States' response filed on January 20, 2009,
26   shall be considered timely filed;
27        2.   Rosales' reply memorandum, if any, shall be due on
28   January 30, 2009; and

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 1        3.      The February 10, 2009, at 9:15 a.m., hearing date for
 2   the motion shall remain as currently set.
 3
 4   Dated:     January 22, 2009          LAWRENCE G. BROWN
                                          Acting United States Attorney
 5
                                          /s/ Samuel Wong
 6                                  By:
                                          SAMUEL WONG
 7                                        Assistant United States Attorney
 8
                                          /s/ Philip Cozens
 9   Dated:     January 22, 2009
                                          PHILIP COZENS
10                                        Attorney for defendant
                                          Daniel Rosales
11                                        (per email authorization)
12                      ____________________________________
13
14                                        ORDER
15
16        Based on the stipulation of the parties and good cause
17   appearing therefrom, the Court hereby adopts the stipulation of
18   the parties in its entirety as its order.
19        IT IS SO ORDERED.
20
21   Dated: January 26, 2009
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